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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      CRIMINAL NO. 21-cr-670
               v.                              :
                                               :
STEPHEN K. BANNON,                             :
                                               :
                       Defendant.              :

                        UNITED STATES’ NOTICE OF DISCOVERY

       On March 16, 2022, the Court ordered the Government to produce to the Defendant

“statements or writings reflecting official DOJ policy, such as an opinion of the Office of Legal

Counsel or the position of an entire division or litigating group, whether those statements are public

or not, if such writings relate to the Department’s policy on prosecuting or not prosecuting

government or former government officials raising executive privilege claims or defenses of

immunity or similar issues.” Mot. Hrg., 3/16/22, Tr. at 96:21-97:3

       Based on the Court’s Order, the Government made inquiries for responsive records from

the following offices within the Department: the Office of the Attorney General, the Departmental

Executive Secretariat, the Office of the Deputy Attorney General, the Office of Legal Counsel, the

Office of Legislative Affairs, and the Appellate Section of the Criminal Division. On April 1,

2022, and April 4, 2022, the Government provided to the Defendant all responsive records it

received from those various offices that include the Department’s view of the criminal penalties

applicable to current or former government officials raising executive privilege claims or

immunity in response to congressional process.
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                           Respectfully submitted,

                           MATTHEW M. GRAVES
                           United States Attorney
                           D.C. Bar No. 481052

                     By:   /s/ Amanda R. Vaughn
                           J.P. Cooney (D.C. 494026)
                           Molly Gaston (VA 78506)
                           Amanda R. Vaughn (MD)
                           Assistant United States Attorneys
                           United States Attorney’s Office
                           555 4th Street, N.W.
                           Washington, D.C. 20530
                           (202) 252-1793 (Vaughn)
                           amanda.vaughn@usdoj.gov




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